Case 2:03-cv-02939-.]DB-dkv Document 151 Filed 07/08/05 Page 1 of 3 Page|D 128

 

Fll.ED BY _% D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 5 JU _, :
WESTERN DIVISION 0 L 8 FH h 03
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ELLIPSIS, INC., W[D Gi' iii f;€E.WS
Plaintiff,
v. Civil Action No. 03-2939 BV
JURY DEMANDED

THE COLOR WORKS, INC.,

Defendant.

 

THE COLOR WORKS, INC_,
Third-Party Plainriff,
V.

MARY ELIZABETH WADE,
a/k/a Elizabeth Wade, individually,

Third-Party Defendant.

 

[PROPOSED] ORDER GRANTING JOI-IN J. HEFLIN, III,

JOHN MARSHALL JONES, AND BOURLAND, HEFLIN,

ALVAREZ & MINOR, PLC, LEAVE TO WITHDRAW AS
COUNSEL FOR ELLIPSIS, INC. AND MARY ELIZABETH WADE

 

BEFORE THE COURT is the Motion of John J. Hefh`n, III, John Marshall Jones, and
Bourland, Hef]in, AIvarez & Minor, PLC for Leave to Withdraw as CounseI for Ellipsis, lnc. and
Mary Elizabeth Wade.

THE COURT FINDS that the Motion is Well taken and GRANTS the Motion.

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IT IS THEREFORE ORDERED that John J'. Hetlin, IH, John Marshall Jones, and Bourland,
Heflin, Alvarez & Minor, PLC are granted leave to Withdraw as counsel for Ellipsis, Inc. and Mary
Elizabeth Wade in this civil action, and that they do hereby so Withdraw.

IT IS FURTHER ORDERED that John .T. Heflin, HI, John Marshall Jones, and Bourland,
Heflin, Alvarez & Minor, PLC are hereby relieved of any and all further responsibility for the

provision of any legal services Whatsoever to Ellipsis, lnc. or Mary Elizabeth Wade in connection

With this civil action or otherwise E£é%€w :[z:ddé¢b Mba/L£/¢;»M(, W
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EsSEE

 

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Honcrable J. Breen
US DISTRICT COURT

